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                                                       7 Specialty Insurance Corporation

                                                       8                                UNITED STATES DISTRICT COURT
                                                       9                                    DISTRICT OF NEVADA
                                                      10
                                                           CAPITOL SPECIALTY INSURANCE                   Case No.: 2:20-cv-1382-JCM-VCF
                                                      11   CORPORATION, a Wisconsin corporation,
PAYNE & FEARS LLP




                                                           as assignee of UNITED CONSTRUCTION
                                                      12   COMPANY,
                    6385 S. RAINBOW BLVD, SUITE 220
                       LAS VEGAS, NEVADA 89118




                                                      13                                                 STIPULATION AND [PROPOSED]
                           ATTORNEYS AT LAW




                                                                          Plaintiff,
                                                                                                         ORDER REGARDING RAMIE
                              (702) 851-0300




                                                      14                                                 MORALES SUBPOENAS AND TO
                                                                  v.                                     VACATE NOVEMBER 30, 2022
                                                      15                                                 HEARING (ECF No. 134) ON
                                                           STEADFAST INSURANCE COMPANY, a                STEADFAST’S MOTION FOR
                                                      16   Delaware corporation; RHP MECHANICAL          PROTECTIVE ORDER (ECF No. 109)
                                                           SYSTEMS, a Nevada corporation; and AXIS
                                                      17   SURPLUS INSURANCE COMPANY, an
                                                           Illinois corporation,
                                                      18
                                                                          Defendants.
                                                      19

                                                      20

                                                      21         PLAINTIFF Capitol Specialty Insurance Corporation (“CapSpecialty”) and Defendant
                                                      22 STEADFAST INSURANCE COMPANY (“Steadfast”), by and through their respective attorneys

                                                      23 of record, hereby STIPULATE and agree as follows:

                                                      24         WHEREAS Steadfast filed a Motion for Protective Order ("Motion") on July 26, 2022
                                                      25 (ECF No. 109) seeking to bar CapSpecialty from enforcing subpoenas served on Attorney Ramiro

                                                      26 Morales ("Morales Subpoenas")

                                                      27         WHEREAS, the Motion is currently scheduled to be hear on November 30, 2022 [ECF No.
                                                      28 134];

                                                                                                     -1-              Case No. 2:20-cv-1382-JCM-VCF
                                                                       STIPULATION AND [PROPOSED] ORDER REGARDING MORALES SUBPOENAS
                                                           Case 2:20-cv-01382-JCM-VCF Document 142 Filed 11/23/22 Page 2 of 3




                                                       1          WHEREAS Steadfast and CapSpecialty previously agreed that the testimony of Chris Ford

                                                       2 (via deposition or at trial) is binding upon Steadfast;

                                                       3          WHEREAS CapSpecialty and Steadfast (collectively "Parties"), having met and conferred,

                                                       4 hereby agree as follows:

                                                       5          1.      CapSpecialty will withdraw the Morales Subpoenas and Steadfast will withdraw

                                                       6 the Motion;

                                                       7          2.      The Parties agree to not elicit testimony from Ramiro Morales at trial. This

                                                       8 prohibition includes the use of any affidavits or declarations by Attorney Morales as well as live

                                                       9 and recorded testimony; and

                                                      10          3.      Steadfast agrees that Chris Ford is Steadfast’s designated corporate witness under
                                                      11 Fed. R. Civ. P. 30(b)(6) and Mr. Ford’s testimony, including his June 2, 2022 deposition
PAYNE & FEARS LLP




                                                      12 testimony, is binding upon Steadfast.
                    6385 S. RAINBOW BLVD, SUITE 220
                       LAS VEGAS, NEVADA 89118




                                                      13          IT IS SO STIPULATED.
                           ATTORNEYS AT LAW


                              (702) 851-0300




                                                      14 Dated: November 22, 2022                              Dated: November 22, 2022
                                                      15 PAYNE & FEARS LLP                                     MORALES FIERRO & REEVES
                                                      16

                                                      17 By: /s/ Sarah J. Odia                                 By: /s/ William C. Reeves
                                                             Sarah J. Odia, Esq.                                   William C. Reeves, Esq.
                                                      18     Scott S. Thomas, Esq.                                 600 Tonopah Drive, Suite 300
                                                             6385 S. Rainbow Blvd, Suite 220                       Las Vegas, NV 89106
                                                      19     Las Vegas, NV 89118
                                                             (702) 851-0300
                                                      20
                                                                                                               Attorneys for Defendant STEADFAST
                                                         Attorneys for Plaintiff CAPITOL SPECIALTY
                                                      21 INSURANCE CORPORATION                                 INSURANCE COMPANY

                                                      22
                                                                                                        ORDER
                                                      23
                                                                  The Court having considered the stipulation of the parties and good cause appearing,
                                                      24
                                                           orders as follows:
                                                      25
                                                                  1.      The Morales Subpoenas and Motion are withdrawn;
                                                      26
                                                                  2.      The Parties may not elicit testimony from Ramiro Morales at trial. This prohibition
                                                      27
                                                           includes the use of any affidavits or declarations by Attorney Morales as well as live and recorded
                                                      28

                                                                                                   -2-                Case No. 2:20-cv-1382-JCM-VCF
                                                                       STIPULATION REGARDING MORALES SUBPOENAS AND [PROPOSED] ORDER
                                                           Case 2:20-cv-01382-JCM-VCF Document 142 Filed 11/23/22 Page 3 of 3




                                                       1 testimony;

                                                       2            3.          The Court hereby vacates the November 30, 2022 hearing on the Motion; and

                                                       3            4.          The testimony of Chris Ford, including his June 2, 2022 deposition testimony, is

                                                       4 binding upon Steadfast.
                                                                                                            IT IS HEREBY ORDERED that the motion for protective
                                                       5            IT IS SO ORDERED.
                                                                                                            order (ECF No. 109), is DENIED as moot.
                                                       6             11-23-2022
                                                           DATED: _________________
                                                       7

                                                       8

                                                       9                                                     ______________________________________
                                                                                                             UNITED STATES MAGISTRATE JUDGE
                                                      10
                                                           4872-1302-7902.2
                                                      11
PAYNE & FEARS LLP




                                                      12
                    6385 S. RAINBOW BLVD, SUITE 220
                       LAS VEGAS, NEVADA 89118




                                                      13
                           ATTORNEYS AT LAW


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                                                                                                          -3-                Case No. 2:20-cv-1382-JCM-VCF
                                                                              STIPULATION REGARDING MORALES SUBPOENAS AND [PROPOSED] ORDER
